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                                              EXHIBIT 35
    https://www.news-herald.com/news/letter-to-the-editor-a-grieving-dads-fathers-day-thoughts/article_87f4dafc-
    6994-55e7-935e-704e9ed55ccb.html

    Letter to the Editor: A grieving dad's Father's Day
    thoughts
    Jun 15, 2013




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    This Father's Day is also my daughter Andrea's birthday. She would have been 35 years old. It has
    been six years since my wife and I lost our beautiful daughter to the war in Iraq. We did not make
    a big deal of Father's Day when Andi was alive, but now this holiday is very special to me -- a time
    when I reflect upon my obligations and blessings as a husband and a father. Andi had gone on a
    peacekeeping mission to Iraq working for a branch of our State Department. She was there to
    promote human rights and to teach the young Iraqi government how to exist as a democracy. I
    could not cope with Andi's death until I began realizing how her brave commitment to peace
    inspired her mother, me and people around the world. We created a foundation in Andi's name
    (The Andi Foundation,

    theandifoundation.org
    ) that provides scholarships to young women who want to use their talent and skills like Andi did --
    to make this a better world. I like to think that I have an emotional heart. Like my physical heart, it
    has four chambers. Each chamber represents one of my four children, with the whole heart
    embodying me and my wife, and the unity of our family. Andi's spirit will live on in the Andi
    chamber of my heart. Losing a child is terrible. The pain is always there. Some days are better than
    others. But I think I've learned a few lessons that may be helpful to others in their grief: -- In order
    to live with your grief, you must learn to forgive yourself. You must release yourself from the
    remorse you feel for not having said "I love you" more, for not giving your loved one more hugs. --


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    Each person grieves differently -- you must respect that, in yourself and others. -- Do not be afraid
    to cry. Crying helps to "rinse" the sadness from your soul. -- Saturate your mind with positive
    thoughts. Try to remember that your loved one would want you to live a happy and productive life.
    I get solace from reading the accounts of other people who have suffered losses. It helps me to
    know that I am not alone in my grief. And that also helps me to remember that it is possible to
    lead a productive life that is full of love even when you are sad. Andre Parhamovich Perry




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